Case 1:20-cv-01098 ECF No. 3, PagelD.29 Filed 11/17/20 Page 1of1

 

 

 

ote. Liew UNITED STATES DISTRICT COURT
REPLY TO
= memorandum
ATTN OF:
SUBJECT: Possibly Related Case FILED -GR
_ 1:20-cv-1098 November 17, 2020 3:17 PM
CASE NUMBER: CLERK OF COURT
CASE CAPTION: Johnson et al v. Benson et al U.S. DISTRICT COURT

 

WESTERN DISTRICT OF MICHIGAN
BY:JMW SCANNED By: .}t! 7 {)-!7
TO: Magistrate Judge Green

According to the nature of the complaint and common parties, this case may be related to the
case listed below:

 

 

 

Judge Janet T. Neff Case Number_1:20-cv-1083
Case Number
Case Number
_X Case is related Case is not related

Pursuant to Local Civil Rule 3.3.1(d)(iii)(A), civil cases are deemed related when a filed case:

_____ (1) relates to property involved in an earlier numbered pending suit

X__ (2) arises out of the same transaction or occurrence and involves one or more of the
same parties as a pending suit

____. G3) involves the validity or infringement of a patent already in suit in any pending
earlier numbered case

(4) is arefiling of an earlier case that was dismissed or remanded to state court

COMMENTS BY MAGISTRATE JUDGE:

 

 

Signature

Pai
Dated:_ Nov 17, 2020 {1-2 5 ! pit
vg

x Direct assignment performed J nw : _ [17-2023

Random assignment performed Initials Date

O7/15
